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                      Exhibit B
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 expected that the structural modifications proposed by Dr. Heathcock would have resulted in

 pimavanserin and its properties.

        D.      Dr. Heathcock Fails to Demonstrate that the Asserted Claims
                of the ’740 Patent Are Invalid for Obvious-Type Double Patenting

        129.    Dr. Heathcock raises six alleged “reference patents,” specifically U.S. Patent Nos.

 8,618,130 (“the ’130 patent”) (Ex. 5 to Heathcock Report); 8,921,393 (“the ’393 patent) (Ex. 6 to

 Heathcock Report); 9,566,271 (“the ’271 patent”) (Ex. 7 to Heathcock Report); 10,028,944 (“the

 944 patent”) (Ex. 8 to Heathcock Report); 7,659,285 (“the ’285 patent”) (Ex. 9 to Heathcock

 Report), and 7,923,564 (“the ’564 patent”) (Ex. 10 to Heathcock Report).

        130.    I understand from counsel that none of Dr. Heathcock’s alleged “reference

 patents” are proper references to support an assertion of obvious-type double patenting.

        E.      Dr. Heathcock Fails to Demonstrate that the
                Asserted Claims of the ’285 Patent Are Obvious over the Prior Art

                1.     Scope and Content of the Prior Art Relied Upon By Dr. LeWitt

        131.    In opining that the asserted claims of the ’285 patent are invalid for anticipation

 and/or obviousness, Dr. LeWitt relies on four references that are also relied upon by Dr.

 Heathcock: (1) the Weiner article, (2) WO ’636, (3) WO ’521, and (4) Drug News 2001.

        132.    For at least the reasons I have described above (see ¶¶ 59-66, 68-69 of this

 report), these four references fail to suggest a method of treating Parkinson’s Disease psychosis

 in a patient comprising administering to a patient having Parkinson’s disease a therapeutically

 effective amount of pimavanserin or a salt thereof.

                2.     Dr. LeWitt Fails to Demonstrate that the Asserted
                       Claims of the ’285 Patent are Obvious over the Prior Art

        133.    I disagree with Dr. LeWitt’s opinion that “[a] medicinal chemist POSA,

 consulting with a clinician with experience with treating PDP, would have been motivated to


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 the date of this declaration. In addition, I expect that I may be asked to consider and testify about

 issues that may be raised by Defendants’ fact witnesses and technical experts at trial or in their

 reports or declarations. It may also be necessary for me to modify or to supplement my opinions

 as a result of any ongoing discovery, Court rulings, testimony at trial, declaration statements, or

 ongoing studies and investigations.


        I confirm, and declare under penalty of perjury, that the contents of this declaration are true

 to the best of my knowledge and belief insofar as it states facts, and that it contains my honest

 opinions on the matters upon which I have been asked to give them.




                                                    ______________________________________
                                                            Brian L. Roth, M.D., Ph.D.

 Dated: October 28, 2022




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